







NUMBER 13-99-622-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


____________________________________________________________________


L. LEE PEDRAZA,	Appellant,


v.



CROSSROADS SECURITY AGENCY, ET AL.,	Appellees.

____________________________________________________________________


On appeal from the 377th District Court


of Victoria County, Texas.


____________________________________________________________________


O P I N I O N



Before Chief Justice Seerden and Justices Dorsey and Rodriguez


Opinion Per Curiam



	Appellant, L. LEE PEDRAZA, perfected an appeal from a judgment
entered by the   377th District Court of Victoria County, Texas, in cause
number 95-1-47,510-D.  The clerk's record was filed on January 3, 2000. 
The reporter's record was filed on January 11, 2000.   Appellant's brief
was due on September 12, 2000.  To date, no appellate brief has been
received.

	When the appellant has failed to file a brief in the time prescribed,
the Court may dismiss the appeal for want of prosecution, unless the
appellant reasonably explains the failure and the appellee is not
significantly injured by the appellant's failure to timely file a brief.  Tex. R.
App. P. 38.8(a)(1).

	On November 13, 2000, notice was given to all parties that this
appeal was subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1). 
Appellant was given ten days to explain why the cause should not be
dismissed for failure to file a brief.  To date, no response has been
received.

	The Court, having examined and fully considered the documents on
file, appellant's failure to file a proper appellate brief, this Court's notice,
and appellant's failure to respond, is of the opinion that the appeal should
be dismissed for want of prosecution.  The appeal is hereby DISMISSED
FOR WANT OF PROSECUTION.

							PER CURIAM


Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed

this the 21st day of December, 2000

